GRASS Al\/[ERICA, INC ,

 

Plalntlf`f,
Clvll Actlon No

1:05€\/0070'6

COMPLAINT FOR PATENT INFRINGEMENT

VS

ADVANCED AFFILIATES, INC ,

"_/\-./\_/\_/\_/\_/`_/`_/

Defendant

Plamtlff Grass Amerlca, Inc (“Grass America”) complains agamst Defendant

Advanced Afflhates, lnc (“AAI”) as follows
NATURE OF COMPLAINT

l Thls rs an actlon for patent mf"rlngement arlsmg under the patent laws 0{` the
Umted States, 35 U S C § l, et seq Plamtlff seeks prellmlnary and permanent ln]unctwe
rehef and monetary damages agamst Defendant AAI

PARTlES. JURISDICTION ANDLNUE_

2 Plamtn`l` Grass Amenca rs a corporanon orgamzed and existmg under the laws
of the State of North Carolma w1th an address at 1202 I-Iwy 66 S Kemersvllle, North
Carolma 27284 Grass Arner:ca 1s engaged m the busmess of deslgnmg, manufacturmg,
offerlng f`or sale, and sellmg concealed hmges

3 On mformatlon and bel\ef`, Defendant AAl rs a corporation organized and

ex\stlng under the laws of the State of New York and havmg an address at 96-12 43rd

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Avenue, Corona, NY 11368 Upon information and belief, AAI has an office in High Point,
North Carolina and is engaged in the business of offering for sale and selling concealed
hinges in the Middle District of North Carolina and elsewhere in the United States

4 This Court has jurisdiction over the subject matter of this action under 28
U S C §§ 1331 and 1338 Defendant AAI is subject to personal jurisdiction in this Court
and venue is proper in this District pursuant to 28 U S C § 1391 and 1400(b)

FACTUAL BACKGROUND
A. The Grass America Business.

5 Grass America is a leading manufacturer of functional hardware including
concealed hinges, drawer slides and glides, underrnount drawer slides, full extension drawer
slides, ready to assemble hardware, and institutional hinges Concealed hinges comprise a
substantial portion of Grass America’s sales, and Grass America has aggressiver pursued
patent protection for recent innovations in concealed hinge technology In the concealed
hinge market in the United States, Grass America is one of a handful of hardware
manufacturers who are competing for the position of “marl<et leader” Any decrease in sales
by one company provides a substantial opportunity for their competitors
B. The Patent-ln-Suit.

6 U S Patent No 6,170,121 (the “’121 Patent”), issued by the United States
Patent Office on _lanuary 9, 2001 , is entitled “Furniture Hinge Mountin g Plate”, and names as
inventor Georg Domenig A true and correct copy of the ‘ 121 Patent is attached hereto as
Exhibit A

7 1n accordance with 35 U S C § 282, the ‘121 Patent is presumed to be valid

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8 Grass America was assigned all right, title and interest in the ‘121 Patent by
the inventor, Mr Domenig, including the right to enforce against others

9 U S Patent No Re 34,995 (the “’995 Patent”), reissued by the United States
Patent Offlce on .luly 18, 1995, is entitled “Adjustable Recessed Door Hinge”, and names as
inventor Georg Domenig A true and correct copy of the ‘995 Patent is attached hereto as
Exhibit B

10 ln accordance with 35 U S C § 282, the ‘995 Patent is presumed to be valid

11 Grass America was assigned all right, title and interest in the ‘995 Patent by
the inventor, Mr Domenig, including the right to enforce against others
C. Defendant’s Unlawful Activities.

12 Defendant is engaged in the business of using, offering for sale, and selling
concealed hinges, which hinges embody the inventions claimed under the ‘ 121 Patent and the
‘995 Patent

13 Specifically, within Defendant’s “1 15° Face Frame Concealed l-linges”
product line, hinges bearing model numbers 1212R, 1212R-WD, 1250, and 1250-WD are
covered by one or more of the claims of the ‘ 1 21 Patent and hinges bearing model numbers
1012 and 1012-WD are covered by one or more of the claims of the ‘995 Patent

14 Grass America has not granted to AAI a license or any other right to use, offer

for sale, or sell hinges as described by any claim of either the ‘121 Patent or the ‘995 Patent

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COUN'I` ONE
PA'I`ENT INFRINGEMENT

15 Plaintiff incorporates by reference and repeat the averments set forth in
paragraphs 1 though 14 as if fully set forth herein

16 AAI has directly infringed upon the ‘121 Patent and the ‘995 Patent by using,
selling and offering for sale products which embody the inventions claimed under the ‘121
Patent and the ‘995 Patent

17 Grass America’s reputation as a leader in the manufacture of hinges such as
those described in the ‘121 and ‘995 Patents will be irreparably haiTned by the use, offer for
sale, and sale of the infringing products of Defendant

18 The continued use, offer for sale, or sale by Defendant, its distributors or
affiliates of the infringing hinges will cause erosion of Grass America’s market share which
cannot be recaptured due to market conditions and cannot be adequately compensated by
money damages

19 AAI’s infringing actions have irreparably injured and will continue irreparably
to injure and damage Plaintiff Grass America

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Grass America, lnc prays for relief as follows

l A preliminary and permanent injunction preventing Defendant Advanced
Affiliates, lnc , its officers, agents, servants, subcontractors, suppliers, employees,

distributors, dealers and all other persons acting in concert or participation with it or them or

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controlled by it or them from further acts of infringement, either direct, contributory or by
active inducement

2 An award of damages, together with interest and costs, to compensate Plaintiff
for the infringement by the Defendant, including Grass America’s lost profits, damage to
reputation and the total profit obtained by Defendant as required under 35 U S C §§ 284,
289 and 15 U S C § 1117, any monetary award to be increased three times the amount found
or assessed in accordance with Title 35 and Title 15 of the Umted States Code,

3 An award of reasonable attorneys’ fees incurred by Plaintiff, as provided in 35
U S C § 285, and

4 Such other and further relief as may be permitted by law.

DEMAND FOR JURY TRIAL
Plaintiff herein make its demand for trial by jury of all issues in this action pursuant to

Rules 28 and 39 of the Federal Rules of Civil Procedure

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rhisihe 11 day ofAugusi 2005

Tonya Deem

N C State Bar No 23075
Todd W Galinski

N C State Bar No 27838

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